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FILED

Name: Fernando Gastelum
Address: 209 W. 9" Street, Casa Grande, AZ 85122 JUL 26 2021
Telephone Number: Number: 520-560-0927 |

Email: fernandog8899@gmail.com EASTER USDISTRICT COURT
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EPUTY CLERK

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

Fernando Gastelum,

Case No. |; ZICVON0 NINE

Plaintiff, Sto
COMPLAINT
VS. - ere

Jackson lv LLC dba Hampton Inn &
Suites Sacramento at CSUS,

 

Defendant. CLERK |
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I. | STATEMENT OF CLAIM
1. My name is Fernando Gastelum. | am 61 years old. | am missing a leg
and use a wheelchair for mobility.
2. Defendant owns or operates a hotel at 1875 65" Street, Sacramento,
California 95819 (Hotel).
3. | booked an accessible room at the Hotel for the night of June 30, 2021.
4. When | came to the Hotel, | noted that it was not compliant with the
Americans with Disabilities Act and the California’s civil rights laws:
a. Cabinets in guest room require pinching and tight grasping to open

This condition makes it more difficult for me to open the cabinets.

 

 
 

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b. Doors require twisting of the wrist. This condition makes it more
difficult for me to open the doors from my wheelchair.

c. Shower requires two hands to operate This condition makes it more
difficult for me to operate it in light of my prosthetic leg.

d. Doors require greater than five Ibs of force. This condition makes it
more difficult for me to open the doors from my wheelchair position.

e. Unsecured carpets. This condition makes it more difficult to roll the
wheelchair over uneven surface.

f. No dispersion of accessible parking to all accessible entrances.
This condition makes it more difficult for me to access accessible

entrances from accessible parking.

. | was denied equal access to the Hotel because the Hotel did not comply

with disability and civil rights laws.

. | will not return back to the Hotel until it becomes fully compliant with

federal and state disability laws.

RELIEF | REQUEST

. Order Defendant to comply with the ADA and California law or close its

Hotel.

. Order Defendant to pay my cost and expenses. If | retain a lawyer, then

also my lawyer’s fees.

. Damages under California law for $4,000 per violation for a total to be

determined at a hearing.

. Other relief that | am entitled to.

 
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REQUEST FOR JURY TRIAL

 

| request a jury trial.
DATED this 20" day of July, 2021

Fernando Gastelum

 

 

 
